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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

Michelle Campana
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−01241
                                                         Honorable John J. Tharp Jr.
Nuance Communications, Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 14, 2022:


       MINUTE entry before the Honorable John J. Tharp, Jr:The defendant's motion to
dismiss [29] is taken under advisement. The plaintiff's response is due by 4/4/2022; the
defendant's reply is due by 4/18. Mailed notice(air, )




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